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12    Attorneys for Plaintiff WPEngine, Inc.

13                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
14

15 WPENGINE, INC., a Delaware corporation,            Case No. 3:24-cv-06917-AMO

16                  Plaintiff,                        DECLARATION OF YVONNE YI
                                                      ZHANG IN SUPPORT OF PLAINTIFF
17
            vs.                                       WPENGINE, INC.’S ADMINISTRATIVE
18                                                    MOTION FOR AN ORDER TO
   AUTOMATTIC INC., a Delaware                        SHORTEN TIME TO HEAR MOTION
19 corporation; and MATTHEW CHARLES                   FOR A PRELIMINARY INJUNCTION
   MULLENWEG, an individual,
20                                                    [L.R. 6-3]
21                  Defendants.
                                                      Judge:    Hon. Araceli Martinez-Olguin
22                                                    Crtrm:    10 — 19th Floor

23
     I, Yvonne Yi Zhang, declare as follows:
24
            1.      I am an attorney at Quinn Emanuel Urquhart & Sullivan, LLP, counsel for Plaintiff
25
     WPEngine, Inc. (“WPE”) in this action. I make this Declaration in support of WPE’s Administrative
26
     Motion for an Order to Shorten Time to Hear Motion for a Preliminary Injunction (the
27
     “Administrative Motion”). I have personal knowledge of the facts stated herein and if called as a
28
     witness, I could and would testify thereto.                     Case No. 3:24-cv-06917-AMO
                                                1
                     DECLARATION OF YVONNE YI ZHANG IN SUPPORT OF PLAINTIFF WPENGINE, INC.’S
                   ADMINISTRATIVE MOTION FOR AN ORDER TO SHORTEN TIME TO HEAR MOTION FOR A
                                                                    PRELIMINARY INJUNCTION
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 1          2.     On October 18, 2024, WPE filed a Motion for a Preliminary Injunction (the “PI

 2 Motion”). Dkt. 17. WPE through its PI Motion seeks to restore and preserve the status quo as it

 3 existed prior to the actions by Defendants identified in the PI Motion.

 4          3.     The Court’s Scheduling Notes indicate that the earliest date for a civil motion hearing

 5 is in March 2025, see https://apps.cand.uscourts.gov/CEO/cfd.aspx?B375#. As described in WPE’s

 6 PI Motion and supporting declarations, WPE will suffer substantial and irreparable harm should its

 7 Motion not be heard as soon as possible, on a shortened basis.

 8          4.     Pursuant to Local Rules 6-3 and 37-1, my colleagues and I met and conferred via

 9 videoconference today with counsel for Defendants regarding the relief requested in the

10 Administrative Motion and WPE’s need for an expedited briefing and hearing schedule on its PI

11 Motion. In response, Defendants indicated that they would prefer an extended briefing schedule

12 rather than an expedited one. We confirmed that WPE would be willing to consider such an option

13 only if Defendants committed to maintaining the status quo and refraining from taking any further

14 adverse actions against WPE or its customers. The parties agreed to each confer with their clients

15 about these proposals.

16          5.     After today’s call, we emailed Defendants’ counsel with the specifics of our proposal

17 in writing. Specifically, we confirmed the below expedited schedule for briefing and hearing:

18                Defendants’ Opposition to the PI Motion due: October 25, 2024;
19                WPE’s Reply in Support of the PI Motion due: October 30, 2024;
20                Hearing on WPE’s PI Motion: November 4, 2024 (or possibly the 7th which is the
                   Court’s Law and Motion hearing date for that week), or as soon as the Court’s
21                 schedule allows.

22 Alternatively, in exchange for a longer schedule, WPE asked for assurances, such as by stipulation,

23 that Defendants would maintain the status quo and not take any further adverse actions toward WPE

24 or its customers, such as agreeing to the following until the time of the PI hearing:

25                Defendants will not make any new / further modifications or changes to the
                   functioning of WPE’s plugins and extensions;
26
                  Defendants will not make any new / further modifications or changes to the
27                 functioning of WordPress’ plugins and extensions used by WPE and/or its
                   customers;
28
                                                      -2-            Case No. 3:24-cv-06917-AMO
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                   ADMINISTRATIVE MOTION FOR AN ORDER TO SHORTEN TIME TO HEAR MOTION FOR A
                                                                    PRELIMINARY INJUNCTION
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 1                Defendants will not interfere with WPE’s existing customer relationships on a
                   going-forward basis, including by using the fact that WPE has been blocked from
 2                 wordpress.org by Defendants.
 3          6.     Defendants responded by email that they were unable to agree to WPE’s proposal at
 4 this time. We responded that we would have to proceed with our Administrative Motion, but offered

 5 to continue the meet and confer discussion over the weekend, if they were able to obtain their clients’

 6 agreement to maintain the status quo and refrain from any further harmful actions against WPE.

 7          7.     WPE requests that the Court adopt the proposed briefing schedule set forth above,
 8 and hear the PI Motion in early November or as soon as practicable.

 9          8.     Given the continuing and potentially irreparable harm inflicted upon WPE by
10 Defendants as further described in the PI Motion, there is good cause to shorten the briefing schedule

11 and advance the hearing on the PI Motion.

12          9.     The Court has yet to enter a scheduling order, and trial has not been set. No time
13 modifications or extensions have been granted either by stipulation or Court order in this case in the

14 past. However, Defendants have requested and WPE has agreed on an extension of Defendants’

15 response to the Complaint to October 30, 2024. As of today, Defendants have not filed this agreed-

16 upon stipulation.

17          I declare under penalty of perjury that the foregoing is true and correct. Executed on this
18 18th day of October, 2024, in New York, New York.

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21                                               By /s/ Yvonne Yi Zhang
22                                                 Yvonne Yi Zhang

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                                                      -3-            Case No. 3:24-cv-06917-AMO
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                                                                    PRELIMINARY INJUNCTION
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 1
                                            ATTESTATION
 2
            I, Rachel Herrick Kassabian, am the ECF user whose ID and password are being used to file
 3
     the above Declaration. In compliance with Civil L.R. 5-1(i)(3), I hereby attest that Yvonne Yi
 4
     Zhang has concurred in the aforementioned filing.
 5

 6
                                                By /s/ Rachel Herrick Kassabian
 7                                                 Rachel Herrick Kassabian
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                                               1                    Case No. 3:24-cv-06917-AMO
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                                                                   PRELIMINARY INJUNCTION
